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Counsel for Plaintiff, Melissa Moore as Parent and natural Guardian of the Minor, B.C.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MELISSA MOORE as Parent and Natural
Guardian of the Minor, B.C.
Plaintiffs,
-against-

COCHLEAR LIMITED, an Australian Public
company; and COCHLEAR AMERICAS, a

Case No. 1:20-cv-00753-MAD-TWD

NOTICE OF MOTION

Delaware Corporation DATE: November 3, 2020
Defendants. | Try: 10:00 a.m.

 

 

 

 

COUNSEL:

PLEASE TAKE NOTICE that upon the annexed redacted affidavit of Plaintiff, Melissa

Moore, individually and on behalf of her infant child, “BC”, and the declaration of Thomas S.

 
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Alch, Esq., and upon the proceedings had herein Plaintiffs will make this unopposed motion!
before this Court, the Honorable Mae A. D'Agostino, presiding, at the Northern District of New
York courthouse located in Albany, New York, on November 3, 2020 at 10:00 a.m., for an

order:

1. Approving the settlement of the above entitled matter;
2. Approving the Proposed Infant’s Compromise Order; and

3. Granting such other and further relief as may be deemed just and proper.

Dated: V2 YL (Le Respectfully Submitted,
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David R. Shoop

Thomas S. Alch

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Counsel for Melissa Moore as Parent
and Natural Guardian of Minor, B.C.

 

! Defendant Cochlear Americas is the only defendant properly served in this case, and does not oppose this
Motion. Defendant Cochlear Limited has not been served and has not appeared in this case.

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